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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 14-5243                                                 September Term, 2016
                                                                        1:13-cv-01025-RCL
                                                                        1:13-cv-01053-RCL
                                                                        1:13-cv-01439-RCL
                                                                       1:13-mc-01288-RCL
                                                       Filed On: July 17, 2017
Perry Capital LLC, for and on behalf of
investment funds for which it acts as
investment manager,

              Appellant

       v.

Steven T. Mnuchin, in his official capacity as
the Secretary of the Department of the
Treasury, et al.,

              Appellees



Consolidated with 14-5254, 14-5260, 14-5262

       BEFORE:       Brown and Millett, Circuit Judges; Ginsburg, Senior Circuit Judge

                                         ORDER

        Upon consideration of the petitions of Fairholme and Arrowood Plaintiffs and the
Class Plaintiffs for panel rehearing, the responses thereto, the motion of the Class
Plaintiffs for leave to file a reply to FHFA’s response to their petition for panel rehearing
and the lodged reply, it is

       ORDERED that the motion for leave to file a reply be denied. The Clerk is
directed to note the docket accordingly. It is

       FURTHER ORDERED that the petitions be granted and the opinion issued
February 21, 2017 be amended, both as set forth in the opinion issued this date. The
amendments in Perry Capital LLC v. Mnuchin, 848 F.3d 1072 (D.C. Cir. 2017), are as
follows:
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                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 14-5243                                                 September Term, 2016


      (1) 848 F.3d at 1097-98: In the first paragraph following the section “IV. The
Class Plaintiffs’ Claims”, delete:

       in district court (in addition to their APA claims), but they did not preserve their
       appeal against the dismissal of those claims: They did not raise in their opening
       brief their claims for breach of contract. The Fairholme plaintiffs also forfeited
       their claim for breach of fiduciary duty against the FHFA by failing to raise in their
       opening brief the district court’s alternative holding that the “claim is derivative
       . . . and, therefore, barred under § 4617(b)(2)(A)(i),” Perry Capital LLC, 70 F.
       Supp. 3d at 229 n.24. See Jankovic v. Int’l Crisis Grp., 494 F.3d 1080, 1086
       (D.C. Cir. 2007).

In lieu thereof, insert:

       (in addition to their APA claims) in district court. Because they neither made
       their arguments for breach of contract and breach of the implied covenant of
       good faith and fair dealing in their opening brief nor incorporated those
       arguments by reference to the class plaintiffs’ brief, they did not properly
       preserve their appeal against the dismissal of those claims. In view, however, of
       the unusual circumstances presented by the separate briefing for the
       consolidated cases that we required in this case, we shall exercise our discretion
       under Federal Rule of Appellate Procedure 2 to permit appeal of the order
       dismissing those claims as if their arguments had been properly preserved.
       Therefore, subsequent references to the class plaintiffs are also applicable to the
       Arrowood and Fairholme plaintiffs insofar as they concern claims for breach of
       contract and breach of the implied covenant of good faith and fair dealing.

                The Fairholme plaintiffs also forfeited their claim for breach of fiduciary
       duty against the FHFA by failing to raise in their opening brief the district court’s
       alternative holding that the “claim is derivative . . . and, therefore, barred under
       § 4617(b)(2)(A)(i),” Perry Capital LLC, 70 F. Supp. 3d at 229 n.24. See Jankovic
       v. Int’l Crisis Grp., 494 F.3d 1080, 1086 (D.C. Cir. 2007). We see no reason to
       relieve them of the consequences of this forfeiture.




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      (2) 848 F.3d at 1111: In the paragraph beginning “Under Delaware law” delete:

      What is arbitrary or unreasonable depends upon “the parties’ reasonable
      expectations at the time of contracting.” Nemec, 991 A.2d at 1126; see also
      Gerber, 67 A.3d at 419.

       (3) 848 F.3d at 1111-12: Delete the paragraph beginning “We remand this
claim”, and in lieu thereof, insert:

              We remand this claim, insofar as it seeks damages, for the district court to
      evaluate it under the correct legal standard, namely, whether the Third
      Amendment violated the reasonable expectations of the parties. We note that
      the class plaintiffs specifically allege that some class members purchased their
      shares before the Recovery Act was enacted in July 2008 and the FHFA was
      appointed conservator the following September, while others purchased their
      shares later, but the class plaintiffs define their class action to include more
      broadly “all persons and entities who held shares . . . and who were damaged
      thereby,” J.A. 262-63. The district court may need to redefine or subdivide the
      class depending upon what that court determines were the various plaintiffs’
      reasonable expectations. If the district court determines the enactment of the
      Recovery Act and the FHFA’s appointment as conservator affected these
      expectations, then it should consider, inter alia, (1) Section 4617(b)(2)(J)(ii)
      (authorizing the FHFA to act “in the best interests of the [Companies] or the
      Agency”), (2) Provision 5.1 of the Stock Agreements, J.A. 2451, 2465 (permitting
      the Companies to declare dividends and make other distributions only with
      Treasury’s consent), and (3) pertinent statements by the FHFA, e.g., J.A. 217
      ¶ 8, referencing Statement of FHFA Director James B. Lockhart at News
      Conference Announcing Conservatorship of Fannie Mae and Freddie Mac (Sept.
      7, 2008) (The “FHFA has placed Fannie Mae and Freddie Mac into
      conservatorship. [Conservatorship] is a statutory process designed to stabilize a
      troubled institution with the objective of returning the entities to normal business
      operations. FHFA will act as the conservator to operate the Enterprises until
      they are stabilized.”).




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       (4) 848 F.3d at 1114: Delete the paragraph in section “V. Conclusion”, and in lieu
thereof, insert:

              We affirm the judgment of the district court denying the institutional
      plaintiffs’ claims against the FHFA and Treasury alleging arbitrary and capricious
      conduct and conduct in excess of their statutory authority because those claims
      are barred by 12 U.S.C. § 4617(f). With respect to the class plaintiffs’ claims and
      those of the Arrowood and Fairholme plaintiffs, we affirm the judgment of the
      district court except for the claims alleging breach of contract and breach of the
      implied covenant of good faith and fair dealing regarding liquidation preferences
      and the claim for breach of the implied covenant with respect to dividend rights,
      which claims we remand to the district court for further proceedings consistent
      with this opinion.

      The Clerk is directed to issue the mandate seven days after the issuance of this
order. See Fed. R. App. P. 41; D.C. Cir. Rule 41.


                                  Per Curiam



                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Ken Meadows
                                                        Deputy Clerk




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